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             THE DÉCOR GROUP, INC. d/b/a NITE TIME DÉCOR,


                                       v.


                            THE TORO COMPANY




                               Exhibit B
                                      TO


                      NITE TIME DÉCOR’s COMPLAINT

                    FOR DECLARATORY RELIEF UNDER

                            28 U.S.C. §§ 2201, 2202




                               Exhibit B
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